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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
V.                                              )            Criminal No. 06-30008-01-GPM
                                                )
MICHAEL J. ABBOTT,                              )
                                                )
               Defendant.                       )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Counts 1-6 of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects mentioned

in Rule 11, I determined that the guilty pleas were knowing and voluntary as to each count, and

that the offenses charged are supported by an independent factual basis containing each of the

essential elements of such offenses. I therefore recommend that the pleas of guilty be accepted,

that a presentence investigation and report be prepared, and that the Defendant be adjudicated

guilty and have sentence imposed accordingly.

       DATED: March 9, 2006
                                                      s/ Clifford J. Proud
                                                      CLIFFORD J. PROUD
                                                      U. S. MAGISTRATE JUDGE

                                           NOTICE

       Failure to file a written objection to this Report and Recommendation within ten (10)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
